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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 SHARON L. SNYDER,

                                Plaintiff,
       -vs-
                                                        Civil Action No. 10-CV-6494
 MONARCH RECOVERY
 MANAGEMENT, INC., a.k.a.
 ACADEMY COLLECTION
 SERVICE, INC.,

                                Defendants.


                               NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1) of the Federal Rules of Civil

Procedure, Plaintiff Sharon L. Snyder hereby voluntarily dismisses the present action against

Defendant Monarch Recovery Management, Inc., a.k.a. Academy Collection Service, Inc., with

prejudice, and each side to bear its own costs.




Date: April 19, 2011                                     /s/Frank J. Borgese
                                                         Frank J. Borgese, Esq.
                                                         Graham Law, P.C.
                                                         Attorneys for the Plaintiff
                                                         1207 Delaware Ave., Suite 202
                                                         Buffalo, New York 14209
                                                         fborgese@grahamlawpc.com
                                                         716.200.1520
